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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

IN THE MATTER OF KIRBY             §    CIVIL ACTION NO. 3:19-CV-00207
INLAND MARINE, LP, IN A            §
CAUSE OF EXONERATION FROM          §    RULE 9(h) ADMIRALTY
OR LIMITATION OF LIABILITY         §

 ANSWER TO KIRBY INLAND MARINE, LP’S COMPLAINT AND PETITION FOR
              EXONERATION FROM OR LIMITATION OF
               LIABILITY AND CLAIM IN LIMITATION

TO THE HONORABLE GEORGE C. HANKS, JR:

     Claimants TIMOTHY ALCALA, SADIK BANJAKU, MICHAEL CACCIOTTI,

SHANE CANTRELL, VU CHE, QUANG DANG, ZACHARY FRANEY, GALVESTON

FISHING CHARTER COMPANY, CECIL GRAY, DANIEL GREEN, DERRICK

JERMAINE GREENE, COLE GRIFFITH, GULF COAST HARVEST, INC., JOHN

HAVENS, SCOTT HICKMAN, CIRCLE H CHARTERS, STEPHEN T. HILLMAN,

DUC HO, HAI HO, LOI HOANG, STEVEN HOYLAND, BAO HUYNH, JON DALTON

LANDRY, JEFFREY DALE LARSON, HOA LE, MINH TUAN LE, THA LUC, HEN

LY, MASTER THAI, INC., CURTIS MAXEY, JAMES MICHAEL MORRIS,

RANDALL NEVAREZ, SYLVIA NEVAREZ, ANH NGUYEN, DA VAN NGUYEN, HA

NGUYEN, HAU NGUYEN, HIEN NGUYEN, HOA VAN NGUYEN, KIET ANH

NGUYEN, MUA VAN NGUYEN, TAI VAN NGUYEN, THACH HUU NGUYEN,

JEFFREY NIELSEN, JACALYN L. NIELSEN, DONNIE O’NEAL, JAMES HIEU

PHAM, NGONG VAN PHAM, RAYMOND PHAM, TU VAN PHAN, JAMES PLAAG,

ADOPH POSTEL, RUSSELL POTTER, JERRY PRAKER, WILLIAM PRAKER, JR.,

BLAKE SARTOR, ZANE STARR, CHARLES STEPHENSON, JR., DENNIS LYNN
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STEPHENSON, T&L ELITE, INC., T&L EXPRESS, INC., T&L LEGACY, INC., T&L

LEGEND, INC., JOEL TAYLOR, DORA TERRY, GARY W. TERRY, THAI

EXPRESS, INC., CALVIN THAI, STEPHANY THAI, THOMAS THAI, TIFFANY

THAI, THOMAS AND SONS II, INC., THOMAS AND SONS, INC., ALLEN TRAN,

ANTHONY TRAN, BA QUAN TRAN, THUY NGOC TRAN, XUANH QUANG TRAN,

BRADLEY TURNER, UNITED SEAFOOD, INC., SHAWN WARREN, EUGENE

WERNER, JOHN MICHAEL WILLIAMS, JOSE YBARRA (collectively referred to as

“Claimants”) file this Answer and Claim in Limitation to KIRBY INLAND MARINE, LP

(“Petitioner” or “Complainant”) Complaint and Petition for Exoneration From or Limitation

of Liability and Claims in Limitation and would respectfully show the Court that:

                              I.         DEFENSES AND ANSWER

       For answer to the Complaint, Claimants state the following defenses and responses to

the allegations as to all Petitioners:

                                          FIRST DEFENSE

       The Complaint fails to state a claim or cause of action upon which relief can be granted.

Rule 12(b)(6), FED. R. CIV. PROC.

                                         SECOND DEFENSE

       The Limitation of Liability Act, 46 U.S.C. §30501 et seq., is unconstitutional in that it

deprives the Claimant of property rights without due process of law in violation of the Fifth

and Fourteenth Amendments to the United States Constitution and does not provide for equal

protection of the laws pursuant to the Fifth and Fourteenth Amendments to the United States

Constitution.




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                                      THIRD DEFENSE

       The limitation fund is inadequate and the Complaint should be dismissed because

Petitioners have failed to deposit adequate security equal to the value of the vessel and its

appurtenant vessels, plus the pending freight; i.e., the value of the contract under which the

vessel was operating at the time of the incident made the basis of Claimants’ claims. The

proper security must be deposited at the time of filing. Rule F(1). Petitioners’ deposit at the

time of filing did not meet the requirements of Rule F(1). Accordingly, this limitation action

must be dismissed.

                                     FOURTH DEFENSE

       To the extent Petitioners’ insurers attempt to avail itself of the limitation/exoneration

defense, Claimants assert that the Limitation of Liability Act is unavailable to insurers of vessel

owners under the circumstances. In the alternative, no prima facie case has been made

establishing they are entitled to avail themselves of the Limitation of Liability Act.

                                       FIFTH DEFENSE

       The purpose of a limitation action is to provide a single forum for determining whether

the vessel and its owner are liable at all, whether the owner may in fact limit liability to the

value of the vessel and pending freight, and how the funds are to be distributed to the claimants.

See 46 U.S.C. § 183; see also THOMAS J. SCHOENBAUM, ADMIRALTY AND MARITIME LAW 2nd

Ed. § 13-5 (1994). Because of the nature and circumstances of this action, a limitations

proceeding is inappropriate and unjustified.

                                      SIXTH DEFENSE

       Claimants respectfully reserve the right, pursuant to the “saving to suitors” clause of 28

U.S.C. § 1333(1), to pursue claims in the forum of choice. Claimants will move the Court to

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lift the injunction and stay of proceedings in other forums. See In re Tetra Applied

Technologies, L.P., 362 F.3d 388 (5th Cir. 2004). Further, pursuant to the holdings of In Re

Liverpool, etc. Nav. Co. (Vestris), 57 F.2d 176, 179 (2nd Cir. 1932); Kreta Shipping v. Preussay

International Steel Corp., 192 F.3d 41, 48 (2nd Cir. 1999); and The Silver Palm, 94 F.2d 776,

780 (9th Cir. 1937), Claimants hereby assert and claim the right to have claims and damages

tried to a jury in the court of their choosing.

                                     SEVENTH DEFENSE

        Claimants reserve the right to contest the appraisal values of each vessel and/or for

any additional vessels in any flotilla, their engines, apparel, appurtenances, pending freight,

contracts, etc., and the adequacy of the security.

                                      EIGHTH DEFENSE

        The incident made the basis of Claimants’ claims caused serious injury to Claimants,

and was caused, at least, in part, by the negligence of Petitioners, its principals, agents,

servants, and/or employees, and/or as a direct and proximate result of unseaworthy conditions

existing aboard the vessel, which occurred with the privity and knowledge of Petitioners, its

principals, agents, servants, and/or employees. Accordingly, Petitioners cannot limit any

liability.

                                       NINTH DEFENSE

        The limitation fund is inadequate and should be increased and/or this action should be

dismissed because the limitation fund does not properly account for the value of the minerals

and other appurtenances, attachments, freight and/or cargo aboard the vessel, subject to the

control of the vessel, and/or owned by each Petitioner.




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                                      TENTH DEFENSE

       Claimant further alleges that there was insurance coverage on the M/V VOYAGER,

KIRBY 30015T and MMI 3041 insuring Petitioners in the event of an occurrence such as that

which is the subject of Claimant's claims, and the proceeds of said insurance policy should be

included in this limitation proceeding (in the event the Court determines these limitation

proceedings are appropriate).

                 II.     ANSWER AS TO KIRBY INLAND MARINE, LP

       AND NOW, with full reservation of all defenses asserted above, Claimants answer the

allegations of Petitioner Kirby Inland Marine, LP, as follows:

                                                A.

       With regard to paragraph 1 of the Complaint, Claimants admit that Petitioner is the

owner of the M/V VOYAGER and KIRBY 30015T and MMI 3041. Claimants lack sufficient

information to justify a belief in the truth or falsity of the remaining allegations.

                                                B.

       With regard to paragraph 2 of the Complaint, Claimants admit that Petitioner is the

owner of the VLGC GENESIS RIVER. Claimant lacks sufficient information to justify a belief

in the truth or falsity of the allegations concerning Petitioner’s corporate status, principle place

of business, and the homeport of the VLGC GENESIS RIVER.

                                                C.

       With regard to paragraph 3 of the Complaint, Claimants admit that Petitioner is the

manager and/or operator of the VLGC GENESIS RIVER. Claimant lacks sufficient

information to justify a belief in the truth or falsity of the allegations concerning Petitioner’s




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corporate status, principle place of business, and the homeport of the VLGC GENESIS

RIVER.

                                             D.

       With regard to paragraph 4 of the Complaint, Claimants admit the VLGC GENESIS

RIVER is a Panamanian flagged LPG tanker. Claimant lacks sufficient information to justify

a belief in the truth or falsity of the allegations concerning Petitioner’s corporate status,

principle place of business, and the homeport of the VLGC GENESIS RIVER.

                                             E.

       The allegations contained in paragraph 5 of the Complaint are not statements of fact,

but conclusions of law, for which no response is necessary from Claimant. To the extent that

a response is required: admitted.

                                             F.

       The allegations contained in paragraph 6 of the Complaint are not statements of fact,

but conclusions of law, for which no response is necessary from Claimant. To the extent that

a response is required: admitted.

                                             G.

       With regard to paragraph 7 of the Complaint, Claimants admit that Petitioner is the

owner of the M/V VOYAGER and the tank barges KIRBY 30015T and MMI 3041. Claimants

specifically deny that the M/V VOYAGER and the barges KIRBY 30015T and MMI 3041

were at all times staunch and seaworthy, properly manned, supplied and equipped for the

service in which the vessels were engaged.




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                                             H.

       With regard to paragraph 8 of the Complaint, Claimants admit that the collision

occurred on May 10, 2019. To the extent that the allegations contained in paragraph 8 of the

Complaint are statements of fact, Claimants lacks sufficient information to justify a belief

therein.

                                             I.

       Claimants deny the allegations in Paragraph 9.

                                             J.

       Claimants deny the allegations in Paragraph 10 and each of its subparts.

                                             K.

       Claimants deny the allegations in Paragraph 11 or lack of sufficient information to

justify a belief in the truth thereof.

                                             L.

       Claimants deny the allegations in Paragraph 12 or lack of sufficient information to

justify a belief in the truth thereof.

                                             M.

       Claimants deny the allegations in Paragraph 13.

                                             N.

       Claimants deny the allegations in Paragraph 14 for lack of sufficient information to

justify a belief in the truth thereof.

                                             O.

       To the extent paragraph 15 requires a response: admitted.




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                                             P.

       Claimants deny the allegations in Paragraph 16 for lack of sufficient information to

justify a belief in the truth thereof.

                                             Q.

       Claimants deny the allegations in Paragraph 17 for lack of sufficient information to

justify a belief in the truth thereof.

                                             R.

       Claimants deny the allegations in Paragraph 18 for lack of sufficient information to

justify a belief in the truth thereof.

                                             S.

       Claimants deny the allegations in Paragraph 19 for lack of sufficient information to

justify a belief in the truth thereof.

                                             T.

       Claimants deny the allegations in Paragraph 20 for lack of sufficient information to

justify a belief in the truth thereof.

                                             U.

       To the extent paragraph 21 requires a response: admitted.

                                             V.

       With regard to paragraph 22 of the Complaint, Claimants admit that Kirby is deemed

the responsible party. To the extent that the allegations contained in paragraph 22 of the

Complaint are statements of fact, Claimants lacks sufficient information to justify a belief

therein.




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                                            W.

       Claimants deny the allegations in Paragraph 23 for lack of sufficient information to

justify a belief in the truth thereof.

                                             X.

       Claimants deny the allegations in Paragraph 24 for lack of sufficient information to

justify a belief in the truth thereof.

                                             Y.

       Claimants deny the allegations in Paragraph 25 for lack of sufficient information to

justify a belief in the truth thereof.

                                             Z.

       To the extent paragraph 26 requires a response: admitted.

                                            AA.

       Claimants deny the allegations in Paragraph 27 for lack of sufficient information to

justify a belief in the truth thereof.

                                            BB.

       Claimants deny the allegations in Paragraph 28 for lack of sufficient information to

justify a belief in the truth thereof.

                                            CC.

       To the extent paragraph 29 requires a response: admitted.

                                            DD.

       Claimants deny the allegations in Paragraph 30 for lack of sufficient information to

justify a belief in the truth thereof.




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                                            EE.

       Claimants deny the allegations in Paragraph 31 for lack of sufficient information to

justify a belief in the truth thereof.

                                            FF.

       To the extent paragraph 32 requires a response: admitted.

                                            GG.

       Claimants deny the allegations in Paragraph 33 for lack of sufficient information to

justify a belief in the truth thereof.

                                            HH.

       Claimants deny the allegations in Paragraph 34 for lack of sufficient information to

justify a belief in the truth thereof.

                                             II.

       To the extent paragraph 35 requires a response: admitted.

                                            JJ.

       Claimants deny the allegations in Paragraph 36 for lack of sufficient information to

justify a belief in the truth thereof.

                                            KK.

       Claimants deny the allegations in Paragraph 37 for lack of sufficient information to

justify a belief in the truth thereof.

                                            LL.

       To the extent paragraph 38 requires a response: admitted.




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                                          MM.

       Claimants deny the allegations in Paragraph 39 for lack of sufficient information to

justify a belief in the truth thereof.

                                           NN.

       Claimants deny the allegations in Paragraph 40 for lack of sufficient information to

justify a belief in the truth thereof.

                                           OO.

       Claimants deny the allegations in Paragraph 41 for lack of sufficient information to

justify a belief in the truth thereof.

                                           PP.

       Claimants deny the allegations in Paragraph 42 for lack of sufficient information to

justify a belief in the truth thereof.

                                           QQ.

       Claimants deny the allegations in Paragraph 43 for lack of sufficient information to

justify a belief in the truth thereof.

                                           RR.

       Claimants deny the allegations in Paragraph 44 for lack of sufficient information to

justify a belief in the truth thereof.

                                           SS.

       Claimants deny the allegations in Paragraph 45 for lack of sufficient information to

justify a belief in the truth thereof.




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                                               TT.

       Claimants deny the allegations in Paragraph 46 for lack of sufficient information to

justify a belief in the truth thereof.

                                              UU.

       Claimants deny the allegations in Paragraph 47 for lack of sufficient information to

justify a belief in the truth thereof.

       With regard to the allegations contained in Petitioner’s Prayer, Claimants specifically

deny that each and every premises are true and within the admiralty and maritime jurisdiction

of the United States and of this Court except as specifically admitted herein. The remainder of

the allegations do not contain statements of fact which require a response. To the extent that a

response is required: denied. Claimant denies that Petitioner is entitled to the relief sought.

                               V. CLAIMS AS TO PETITIONER

       AND NOW, Claimants assert claims against Petitioners as follows:

                                               A.

       Claimants, individuals and/or entities have suffered losses under admiralty or maritime

law. The Claimants can be defined as follows:

       Commercial fisherman, oystermen, shrimpers, crabbers, the owners and operators of

       businesses involving commercial fishing (collectively referred to as “Fisherman

       Claimants”).

                                               B.

       Claimants, collectively, suffered physical loss, economic loss, and loss of property as

a direct result of the collision between M/V VOYAGER and VLGC GENESIS RIVER and its

barges, KIRBY 30015T and MMI 3041, resulting in the reformate spill. Such injuries were

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legally caused by the negligence and gross negligence of the Petitioners and the

unseaworthiness of the Vessels in question. A barge partially capsized while on navigable

waters. Such an incident does not occur without an unseaworthy condition or negligence.

       The Fisherman claimants have suffered and will continue to suffer economic loss due

to the Spill and response related injury to marine life in the Gulf of Mexico.

                                              C.

                      NEGLIGENCE AND GROSS NEGLIGENCE

       Petitioners were negligent, negligent per se, grossly negligent, and reckless for the

following reasons:

       a. failure to properly supervise their crew;

       b. failure to properly train their employees;

       c. failure to maintain a proper lookout;

       d. failed to chart and maintain a safe course;

       e. failed to take reasonable action to prevent the collision, or minimize the effect

           thereof;

       f. failure to provide adequate safety equipment;

       g. failure to provide adequate medical treatment;

       h. operating the vessel with an inadequate crew;

       i. failure to maintain the vessel;

       j. vicariously liable for their employees’ and agents’ negligence, gross negligence,

           and recklessness;

       k. violating applicable Coast Guard, MMS and/or OSHA regulations; and,

       l. other acts deemed negligent, grossly negligent, and reckless.

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                                               D.

       At all relevant times, the M/V VOYAGER, KIRBY 30015T and MMI 3041 were

unseaworthy.

                                               E.

       By reason of the occurrences made the basis of this action, including the conduct on the

part of Petitioners, Claimants sustained economic damages and/or other costs as a result of the

reformate spill.

       Petitioners owed and breached duties of ordinary and reasonable care to Claimants in

connection with the maintenance and operation of its vessel, and additionally owed and breached

duties to Claimants to guard against and/or prevent such risk. Petitioners failed to exercise

reasonable care and acted with gross negligence, willful misconduct, and reckless disregard for

human life and the safety of the Claimants.

                                               F.

       As a result of the foregoing injuries, Claimants have suffered a loss of wages in the past

and a loss of or reduction in the capacity to work and earn money in the future and, in reasonable

probability, their earning capacity has been impaired permanently.

                                               G.

       Claimants are also entitled to punitive damages because the aforementioned actions of

Petitioners were grossly negligent and reckless. Petitioners’ conduct was willful, wanton,

arbitrary, and capricious. They acted with flagrant and malicious disregard of Claimants and

the coastal community as a whole. Petitioners failed to properly maintain and/or operate their

vessels, operated same in such a manner to save time and money without regard to safety,

ignored warnings, failed to implement and enforce safety regulations, failed to avoid or

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mitigate the explosion, and failed to establish and enforce an appropriate response plan.

Petitioners were subjectively aware of the extreme risk posed by the condition which caused

Claimant injuries, but did nothing to rectify them.   Petitioners’ acts and omissions involved

an extreme degree of risk considering the probability and magnitude of potential harm to

Claimants and to others.     Petitioners had actual, subjective awareness of the risk, and

consciously disregarded such risk. Moreover, Claimants may recover punitive damages under

the general maritime law because of the Vessels unseaworthiness following the United States

Supreme Court’s ruling in Atlantic Sounding. All of the conduct mentioned in the above

paragraphs was within the knowledge and privity of Petitioner.

                                              VI.

                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Claimants pray that this Answer and

Claim in Limitations be deemed good and sufficient and that after due proceedings, there be

judgment denying the Complaint of Petitioners for exoneration from or limitation of liability,

with all costs to be borne by such Petitioners. Claimants demand against Petitioners as follows:

economic and compensatory damages; punitive damages, pre-judgment and post-judgment

interest at the maximum rate allowable by law, attorney’s fees and costs of litigation, and such

other relief available under all applicable state and federal laws and any relief the Court deems

just.




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                                               Respectfully submitted,

                                               PIERCE SKRABANEK, PLLC

                                               /s/ Eduardo J. Garza
                                               ______________________________
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                                               ATTORNEYS FOR CLAIMANTS




                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded by electronic means through the Court’s ECF system upon all known counsel of
record in this cause on August 23, 2019.



                                               /S/ Eduardo J. Garza
                                               Eduardo J. Garza




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